                  Case 23-10831-MFW             Doc 897        Filed 01/09/24       Page 1 of 4




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                 Chapter 11
    In re:
                                                                 Case No. 23-10831 (MFW)
    Lordstown Motors Corp., et al.,1
                                                                 (Jointly Administered)
                             Debtors.
                                                                 RE: D.I. 437, 487, 495

      CERTIFICATION OF COUNSEL REGARDING REVISED ORDER GRANTING
      RELIEF FROM THE AUTOMATIC STAY, TO THE EXTENT APPLICABLE, TO
    PERMIT PAYMENT, REIMBURSEMENT AND/OR ADVANCEMENT OF DEFENSE
     COSTS AND FEES AND RELATED EXPENSES TO EDWARD HIGHTOWER AND
      ADAM KROLL UNDER DIRECTORS AND OFFICERS INSURANCE POLICIES

             The undersigned counsel for Edward Hightower, Adam Kroll, and Daniel Ninivaggi hereby

certify that:

             1.     On September 19, 2023, Messrs. Hightower and Kroll filed Edward Hightower and

Adam Kroll’s Motion for Relief From the Automatic Stay, to the Extent Applicable, to Permit

Payment, Reimbursement and/or Advancement of Defense Costs and Fees, and Related Expenses,

Under Directors and Officers Insurance Policies [D.I. 437] (the “Motion”)2 with the United States

Bankruptcy Court for the District of Delaware (the “Court”) in the above-captioned chapter 11

cases of Lordstown Motors Corp. (“LMC”) and its affiliated debtors and debtors in possession

(collectively, the “Debtors”).

             2.     On September 29, 2023, Messrs. Hightower and Kroll filed the Certificate of No

Objection Regarding Edward Hightower and Adam Kroll’s Motion for Relief From the Automatic

Stay, to the Extent Applicable, to Permit Payment, Reimbursement and/or Advancement of Defense




1
      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
      Corporation (“LMC”) (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The
      Debtors’ service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
2
      Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.
             Case 23-10831-MFW          Doc 897     Filed 01/09/24     Page 2 of 4




Costs and Fees, and Related Expenses, Under Directors and Officers Insurance Policies [D.I.

487], and, on October 2, 2023, the Court entered the Order Granting Relief From the Automatic

Stay, to the Extent Applicable, to Permit Payment, Reimbursement and/or Advancement of Defense

Costs and Fees and Related Expenses to Edward Hightower and Adam Kroll Under Directors and

Officers Insurance Policies [D.I. 495] (the “Original Order”).

       3.      The Original Order, among other things, modified the automatic stay of section 362

of the Bankruptcy Code, to the extent applicable, solely to the extent necessary to permit and

authorize the Insurers to make payments to or for the benefit of Messrs. Hightower and Kroll, for

the reimbursement and payment of Covered Costs (as defined in the Original Order) incurred in

connection with the Securities Litigation (as defined in the Motion), under and in accordance with

the terms of the D&O Policies (as defined in the Motion).

       4.      At the time of the filing of the Motion and entry of the Original Order, Messrs.

Hightower and Kroll were the only named defendants in the Securities Litigation.              On

December 29, 2023, plaintiffs in the Securities Litigation filed an Amended Class Action

Complaint, adding Daniel A. Ninivaggi as a named defendant. Mr. Ninivaggi currently serves as

Executive Chairman of Lordstown and, thus, is also an insured under the D&O Policies held by

LMC. Accordingly, Messrs. Hightower, Kroll, and Ninivaggi request entry of a revised order in

the form attached hereto as Exhibit 1 (the “Revised Order”) modifying the Original Order solely

to apply the relief granted by the Original Order to Mr. Ninivaggi in all respects. All other

provisions of the Order remain unchanged.

       5.      The Revised Order has been circulated to counsel to the Debtors, the United States

Trustee, the Official Committee of Unsecured Creditors, and the Official Committee of Equity

Security Holders and those parties do not object to the entry of the Revised Order. No party in



                                                2
              Case 23-10831-MFW         Doc 897      Filed 01/09/24     Page 3 of 4




interest objected to the Motion and therefore no other party has received a draft of the Revised

Order.

         6.   For the convenience of the Court and all parties in interest, a redline of the Revised

Order, showing changes made from the Original Order, is attached hereto as Exhibit 2.



                           [Remainder of Page Intentionally Blank]




                                                3
             Case 23-10831-MFW          Doc 897     Filed 01/09/24     Page 4 of 4




       WHEREFORE, Messrs. Hightower, Kroll, and Ninivaggi respectfully request that the

Revised Order, attached hereto as Exhibit 1, be entered at the Court’s earliest convenience.

 Dated: January 9, 2024                          Respectfully submitted,

                                                  /s/ Jennifer R. Hoover
                                                 Jennifer R. Hoover (DE No. 5111)
                                                 Steven L. Walsh (DE No. 6499)
                                                 BENESCH FRIEDLANDER COPLAN
                                                    & ARONOFF LLP
                                                 1313 North Market Street, Suite 1201
                                                 Wilmington, DE 19801-6101
                                                 Telephone: (302) 442-7010
                                                 Email: jhoover@Beneschlaw.com
                                                         swalsh@Beneschlaw.com

                                                 -and-

                                                Bruce G. Vanyo (pro hac vice)
                                                Sarah Eichenberger (pro hac vice)
                                                Jonathan Rotenberg (pro hac vice)
                                                Cindi M. Giglio (pro hac vice)
                                                KATTEN MUCHIN ROSENMAN LLP
                                                50 Rockefeller Plaza
                                                New York, NY 10020-1605
                                                Telephone: (212) 940-8788
                                                Email: bruce@katten.com
                                                       sarah.eichenberger@katten.com
                                                       jonathan.rotenberg@katten.com
                                                       cgiglio@katten.com

                                                Counsel to Edward Hightower, Adam Kroll, and
                                                Daniel Ninivaggi




                                                4
